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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

REMOVE YOUR CONTENT, LLC                             §
                                                     §
       Plaintiff,                                    §
v.                                                   §
                                                     §        CIVIL ACTION NO. 3:09-cv-393
MARK BOCHRA,                                         §
                                                     §
       Defendant                                     §
                                                     §

                        MOTION FOR PRELIMANRY INJUNCTION

Defendant Mark Bochra pursuant to Fed. R. CIV. P. 65(a), respectfully requests that the court

enter a Preliminary Injunction, following a notice and a hearing with the trial, prohibiting

Remove Your Content, LLC, (“Plaintiff”) and those in active concert and participation with him,

and his agents from publishing private information such as: the full name of the defendant, his

home address, or any other information that alone or in conjunction with other information are

considered PII “Personal Identifying Information”, and disparaging statements about Mark

Bochra during the pendency of this proceeding. As substantiated by the attached exhibits,

plaintiff and plaintiff's owner, Mr. Green, have waged a persistence campaign in both direct and

indirect ways on the internet to ruin Mark's good reputation, as well as intentionally inflicting

emotional distress on the defendant prior to the complaint filed against Mark on August 14,

2009. For all the reasons supporting Court's order granting a Preliminary Injunction Order,

defendant respectfully prays that a Preliminary Injunction should be entered barring further

adverse publicity regarding Mark Bochra, and the removal of the defendant's private information

from plaintiff's own website, pending final decision on the merits.

       In Support of this motion, Mark Bochra states:



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                                          A. Background

       1.       Defendant, Mark Bochra is a resident of Chicago city with an exemplary history

in helping the community throughout high school and college. Mark through his educational

journey in his high school and college has proven to be an exemplary student who received

multiple awards and accolades regarding his performance in school and college, and his

involvement in the community, which continues to this day, (see Exs. 3-6). Mark provided

various community services in the past such as: a) tutoring calculus to other students,

b) coaching and taking care of children between the ages 7-14 in the Chicago Park District:

Broadway Armory Park; among many other activities, c) providing more than 100 hours of

community service such as painting mural walls to decorate his high school, d) a proud blood

donor at University of Illinois Medical Center, (see Ex. 2), e) a member of national honor society

since 2006; among many other activities, (see Ex. 1). Mark is a resident of Chicago and not of

Texas and has never traveled to Texas, nor has ever had any type of communication with the

plaintiff. Quite the contrary, it was the plaintiff who tried to communicate with the defendant in

such a bizarre, cyber stalking approach. On Tuesday June 9, 2009, Mark received an empty

e-mail send from webmaster@removeyourcontent.com to his (“UIC”) webmail. Defendant is

concerned about such ambiguous action that arose from the plaintiff, further Mark is concerned

about how the plaintiff knew his college e-mail.

       2.       Defendant was trying his best to compact with such ambiguous lawsuit sought by

the plaintiff and plaintiff's attorneys and in the same time, tried to focus on his final courses

toward graduation. However, the extreme burden of the legal matter has caused the defendant to

fail one of his courses - Organic Chemistry II and took an incomplete in the course and will not

be able to graduate unless he finishes the required course next semester, (see Exs. 32-33).



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Furthermore, defendant was receiving mostly A's and B's in his courses and is always a full time

student, however, his grades started to drop when the defendant started to compact with the

current lawsuit during fall of 2009. Defendant's grades changed from A's and B's to C's which

has affected his overall GPA, (see Exs. 32-33), see also letter send to mark's professors (Ex. 34).

        3.      Mark is an Undergraduate College student who wishes to attend medical school

in order to become a Cardiac Doctor. Moreover, defendant was supposedly be focusing on

studying for his graduate medical exam (MCAT) and be able to receive his Bachelor of Science

Degree in Biology in fall of 2009 and attend the graduate ceremony with his family on August

15, 2010 (see graduation date, Ex. 31, which is close to trial's date August 2, 2010) and

concentrate on applying to medical school and its hectic procedure. However, the following

lawsuit has deprived the defendant's right from doing some or all of the followings and has

caused extreme suffering, anxiety, and other serious health issues to the defendant. See Doc. # 12

a copy of the defendant's medical situation was mailed and filed with the clerk on November 13,

2009 from (“UIC”) Counseling Center. See also Doc. # 9, Page 32, a different sealed medical

record that was mailed and filed with the clerk on September 25, 2009.

                                       B. Irreparable Harm

        4.      The verified documents provides substantial evidentiary for Mark's claim that

plaintiff has previously and intentionally tried to defame the defendant online more than one

time, as well as, intentionally inflicting emotional distress on him by placing him in false light in

the public eye prior to trial and by disclosing the defendant's private information on several

pornography websites. Plaintiff has published false and defamatory assertion and accusation

regarding Mark, falsely attribute that Mark is the individual responsible for the alleged blogs and

e-mails and is further liable for the alleged claims set forth in plaintiff's original filed complaint.



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Plaintiff has related the defendant to individuals and sites that the defendant was not aware of

prior to the filed complaint, (see Exs. 7-8, reference to plaintiff's online postings).

       5.       After the response to the issued subpoena to Office of University Counsel

(“UIC”) was received and stamped by plaintiff's attorneys, Hulse ♦ Stucki, on June 9, 2009. On

this same day, plaintiff used such information and posted information related to the defendant

online, on a pornography website; ignoring the Federal Rules of Civil Procedure by violating

Rule 45(C)(1). See Exs. 7-8, reference to plaintiff's online postings with their correspondent date

June 9, 2009. See also Exs. 9-11, subpoena issued to (“UIC”) by and through plaintiff's attorney,

Ellen Cook Sacco, and the response was received on June 9, 2009. Plaintiff and plaintiff's

attorneys have placed undue burden on the defendant when they misused the subpoena's

information in such a delinquency manner. The good purpose of any issued subpoena was to be

sole used by plaintiff's attorneys in the pending litigation. However, plaintiff disclosed private

information related to the defendant to public eye, on a pornography website.

       6.       On January 4, 2010, plaintiff has posted the defendant full name and address on

his own website, www.removeyourcontent.com and once more relating Mark to individuals and

sites the defendant is not aware of. Plaintiff has published false and defamatory accusations with

malice, (see Exs. 12-13). Plaintiff stated “If you have read any of these blogs (they are all the

same), they were written with malice and contain no factual information. The individual

allegedly responsible for all of this is Mark Bochra of Chicago, IL” (sic). By reviewing all the

files on docket and the documents filed with the clerk, plaintiff has not provided the Court with

any attached evidences to prove that Mark is the one liable for creating the alleged blogs or

e-mails and thus far, plaintiff's allegations are based on hearsay. Furthermore, final decision on

the actual truthful merits raised by any party are still pending. Defendant acted reasonably by



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e-mailing plaintiff's attorney, Ellen Cook Sacco, in attempt to get his name removed from the

plaintiff's own website. However, after several communication with Ms. Sacco through e-mails,

defendant was not able to get his name removed from www.removeyourcontent.com website

after requesting three (3) time through several e-mails for his name to be removed.

        7.     Plaintiff pervasive use of the defendant's full name or last name in conjunction

with false and misleading descriptions of facts, in a concerted effort to drive trade away from the

defendant and to enhance his own fame and notoriety, has further violated Lanham Act §43(a),

15 U.S.C. §1125(a). Furthermore, plaintiff's attorney has stopped responding to defendant's

e-mail and ignored his request after the 3rd e-mail send by the defendant to Ms. Sacco, (see Exs.

14-17). Plaintiff obdurate persistence of exposing the defendant's private information on several

pornography websites, as well as on plaintiff's own website www.removeyourcontent.com; have

placed Mark in possible danger of exposing him to all kinds of possible abuse, harassments, and

danger arise by other anonymous individuals from the pornography industry (with respect to the

Court, I did not utilize the word “adult industry” because adult means someone mature, who

knows how to respect and act promptly good). Plaintiff is well aware of his own reputation and

audience among the pornography industry, (see Exs. 35-36, a full article about Remove Your

Content, LLC, on a pornography newspaper named XBIZ), and by disclosing the defendant's

private information on his own website is further exposing not only Mark to all kind of possible

abuse, harassments, and danger but plaintiff is exposing Mark's family in possible danger as

well.

        8.     Mr. Green misconduct has been proven in violating of several statutory

provisions, including 47 U.S.C. §223(a)(1)(a) (Prohibiting general purposes whoever in interstate

or foreign communications by means of any communication devices knowingly makes, creates,



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or solicits, and initiates the transmission of, any comment, request, suggestion, proposal, image,

or other communication which is obscene with intent to annoy, abuse, threaten, or harass another

person). Texas Penal Code § 42.07(a)(1) (A person commits an offense if, with intent to harass,

annoy, alarm, abuse, torment, or embarrass another, he initiates communication by telephone, in

writing, or by electronic communication and in the course of the communication makes a

comment, request, suggestion, or proposal that is obscene). Tex. Bus. & Com. Code §48.002(1)

(Prohibiting the use or possession of “Personal Identifying Information”).

       9.       Furthermore, plaintiff's attorneys pursuant to Rule 26(a) were suppose to disclose

the response received from AT&T on or after December 30, 2009 to indentify the individual/s

responsible for the alleged blogs:

   1. Removeyourcontentfake.blogspot.com

   2. Removeyourcontentsuck.blogspot.com

   3. Removeyourcontenttruth.blogspot.com

   4. Removeyourcontentscam.blogspot.com

   5. Removeyourcontentsucks.blogspot.com

On or before December 30, 2009 at 5:00 Am, AT&T should've served plaintiff's attorneys with a

response to their issued subpoena. However, thus far, plaintiff's attorneys have not disclosed the

following response, (see Exs. 27-30).

       10.       See Doc. # 12; On November 13, 2009 a copy of the defendant's medical

situation was filed with the clerk in a sealed envelope from (“UIC”) Counseling Center. In

addition, to a different sealed medical record that was filed on September 25, 2009 - See Doc. #

9, Page 32. The following medical records are sealed under sealed motion. On December 11,

2009, defendant has discovered that plaintiff owner, Mr. Green, was using the alias “ryc1” and



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has posted the following “BTW.. It's not difficult to sue. We just filed a motion for summary

judgment on a pending trademark infringement case and quite honestly, the defendant is very out

of touch with reality. Frankly, I think people could make a good living doing this very thing.

wait.. someone did... ie.. Jason Tucker” (see Ex. 18). See also Exs. 19-21, additional postings in

proving that alias “ryc1” is the plaintiff. Plaintiff is not only intentionally inflicting emotional

distress on the defendant by disclosing the defendant's private health situation in an indirect way,

but plaintiff has also revealed his true intentions behind the pending lawsuit.

                           C. Likelihood of Truthfulness of the Merits

        11.       On January 10, 2010, plaintiff has eradicated the defendant's full name and

address from www.removeyourcontent.com after exposing Mark's private information for over

six (6) days to public eye; on a site that provides services for clients that produce pornography

contents. See Ex. 37, Plaintiff has updated his webpage and posted the following “Jan. 10,

Removeyourcontent branches into Asia with Asia Media Strategies, Inc. We welcome our new

partners as Removeyourcontent begins coverage of Japanese producers.” The factual posting

gives rise to several matters/questions: Is the factual posting a demonstration of a company that

has been damaged in its reputation by the alleged blogs in question? Or a prove of a company

that keep on expending?

        12.       All the factual online postings surrounding Remove Your Content, LLC, prove

that plaintiff's business has expended greatly; not harmed. See also Ex. 38, Plaintiff posted the

following on his own webpage “Thank you for your interest in Removeyourcontent.com. Sorry

but we are not accepting new clients at this time. Please check back at a later date. -Mgmt.

December 7, 2009”. The factual posting gives rise to another matter/question: Is the factual

posting a prove of a company that has been damaged and lost clients? Or a prove of a company



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that never lost but gained more clients to an extent that it could not accept any new clients due to

extensive work load?

       13.       See Ex. 42 amount demanded. See also Exs. 39-41, reference to plaintiff's

designation of expert witnesses, states in pertinent part “Mr. Green will testify regarding the

harm and impact to Remove Your Content, LLC due to the posting of the blogs...Mr. Green will

base his opinions...”. Remove Your Content, LLC, (“Plaintiff”) factual online postings v.

plaintiff's designation of expert witnesses are two (2) propositions that contradict each other. By

balancing facts v. opinion, one could determine where a portion of the truth lies.

                                       D. Balance of Harm

       14.       Mark would be irreparably harmed absent injunction relive. Mr. Green seeks to

associate Mark's name with unproven allegation in public eye prior to trial. Unless the relief

granted in a Preliminary Injunction, furthermore, plaintiff could be expected to retaliate with

further internet postings and harassing communication, giving his past history with other

individuals and his violation to PII “Personal Identifying Information” law, which prevents

people from releasing an individual's private information, (see Exs. 22-26, reference to plaintiff's

online postings). Personal identifying information can be exploited by criminals to stalk or steal

the identity of a person, or to plan a person's murder or robbery, among other crimes. PII means

information that alone or in conjunction with other information identifies an individual,

including an individual's:

(1) name, social security number, date of birth, or government-issued
identification number;

(2) mother's maiden name;

(3) unique biometric data, including the individual's fingerprint, voice print,
and retina or iris image;



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(4) unique electronic identification number, address, or routing code; and

(5) telecommunication access device.

The requested relief would not impose significant hardship on the plaintiff, who would simply be

prevented from posting disparaging statements about Mark during the pendency of this

proceeding. Furthermore, plaintiff will not suffer any undue financial hardship as a result of the

Preliminary Injunction.

                                        E. Public Interest

       15.       Remove Your Content, LLC, (“Plaintiff”) and plaintiff's attorneys misconduct

acts have placed irreparable harm and undue burden on the defendant to an extent that offends

the public sense of justice. There are no words to describe the harm, the loss of reputation, the

suffering, and anxiety that occurred to the defendant during the pendency of this proceeding and

the undue burden during his final year toward graduation.

                          F. The Scope of Preliminary Injunction Order

       16.       The balance of harm favor Mark, whose good reputation and future career

would be severely injured by internet postings and other publicity planned by the plaintiff to

“ruin” Mark's good reputation with his defamatory postings. In addition, Mark will continue to

suffer emotional effects from the unfounded, unjustified, unfair attacks on his standing in the

community. That limited relief is necessary and appropriate to maintain status quo, pending a

later determination by the Court during trial, on a further relief sought by the Court in this action.

       WHEREFORE, Mark respectfully prays that the Court grant this motion and issue a

Preliminary Injunction form; or alternatively in such form as the Court may find appropriate

providing that the plaintiff and plaintiff owner, Mr. Green, be prevent from engaging in the

activities such as sharing private information or posting defamatory statements about the



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defendant on the internet or otherwise during the pendency of this proceeding; pending final

decision on the merits. Furthermore, by removing the defendant's full name from plaintiff's own

website www.removeyourcontent.com or cached copies that appears on online search engines.

After judgment on the merits during trial, Mark alternatively seeks further and additional relief

as the Court may find appropriate for all the emotional and actual damages that was done to the

defendant by plaintiff and plaintiff's attorneys during the pendency of this proceeding.



                                                                           Respectfully Submitted,


                                                                           By: /S/ Mark Bochra

                                                                           Mark Bochra
                                                                           5757 N. Sheridan Road
                                                                           Apt. # 13B
                                                                           Chicago, IL 60660

                                                                           Defendant, Pro Se




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            SUPPLEMENT TO MOTION FOR PRELIMINARY INJUNCTION


Warning: Some of these links contain obscenity or pornography images. With respect to the
Court, I have censored some of the images that appeared inappropriate on the filed Exhibits.

1. Reference to plaintiff's online postings exposing defendant Mark Bochra
   a) http://removeyourcontent.com/
   b) http://askdamagex.com/f2/att-eric-green-removeyourcontent-com-34817/index2.html
   c) http://gofuckgfy.com/showpost.php?p=10556&postcount=28

2. Reference to posting in proving that alias "ryc1" is the plaintiff.
   a) http://gofuckgfy.com/showthread.php?t=764

3. Reference to plaintiff's online postings exposing defendant Mark Bochra; Google Cache
   a) http://74.125.95.132/search?q=cache:WBY3Puf5JAQJ:www.removeyourcontent.com/+r
       emoveyourcontent&cd=1&hl=en&ct=clnk&gl=us

4. Reference to plaintiff's online postings violating PII “Personal Identifying Information” law
   a) http://askdamagex.com/f14/poshalim-tv-29419/
   b) http://askdamagex.com/f14/tru-dymez-com-fucktubetv-com-32424/

5. Reference to Mark's award and recognition being a member of national honor society.
   a) http://www.uic.edu/honors/life/PhiEtaSigma/PhiEtaSigma-2006.shtml


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                                 CERTIFICATE OF SERVICE

I certify that on the _21_th day of January, 2010, the foregoing was filed electronically. Notice of
this filling will be send to the following parties by U.S. Certified Mail, postage prepaid and hand
delivery. Party may access this filling through the Court's system.

Notice will be delivered to plaintiff's attorneys via Certified Mail; UPSP 7006 2760 0002 2866
2105

Jay R. Stucki
Texas State Bar No. 00798531
Jstucki@AttorneysForBusiness.com
Ellen Cook Sacco
Texas State Bar No. 24029491
ESacco@AttorneysForBusiness.com
Hulse ♦ Stucki, PLLC
2912 West Story Road
Irving, Texas 75038
Phone: 214.441.3000

ATTORNEYS FOR PLAINTIFF



                                                                           By: /S/ Mark Bochra

                                                                           Mark Bochra
                                                                           5757 N. Sheridan Road
                                                                           Apt. # 13B
                                                                           Chicago, IL 60660

                                                                           Defendant, Pro Se




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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

REMOVE YOUR CONTENT, LLC                             §
                                                     §
       Plaintiff,                                    §
v.                                                   §
                                                     §       CIVIL ACTION NO. 3:09-cv-393
MARK BOCHRA,                                         §
                                                     §
       Defendant                                     §
                                                     §

                                   Notice of Response to
                       Defendant's Motion For Preliminary Injunction


To (Plaintiff's attorney name and address)

Ellen Cook Sacco
ESacco@AttorneysForBusiness.com
Hulse ♦ Stucki, PLLC
2912 West Story Road
Irving, Texas 75038
Phone: 214.441.3000

Within 20 days after service of this notice on you (not counting the day you received it), you
must file and serve on the defendant an answer to the attached motion under Rule 12 of the
Federal Rules of Civil Procedure.

An answer or motion must be served on defendant. whose name and address are:

Mark Bochra
5757 N. Sheridan Rd. Apt 13B
Chicago, IL, 60660

If you fail to do so, a judgment by default will be entered against you for the relief demanded in
the motion. You also must file your answer or motion with the court.

/S/ Mark Bochra




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